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    5                                IJNITED STATES olsTltlc'r COURT
    6                                      Dlserltlc'roy NEVADA
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    10     ITED STA TSS oy AM ER ICA ,              )                                               i
    1l                                              )                                               i
                      plaintiff,                    )                                               :
    12                                                                                              !
       vs.                                          )         2:11-cr-31I-GI
                                                                           MN-VCF                   I
    13                                              )                                               F
       DARREN LEE DILLINeHAM                        )                                               :
    14                                              )                                               :
                 oefendant.                         )
                                                    '                    ORDER                      q
    15                                                                                              i
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                                                                                                    l
    16         The Courtgranted RaquelLazo's sealed GtEx Parte M otion to W ithdraw as Cotmselfor   i
                                                                                                    q
    17 Detkndant''(#35)onFebruary29, 2012,n erefore;                                                !
    18                                                                                              1
               IT IS HEREBY ORDERED thatBrett0.W hipple,Esq.isappointedascotmselforDarren           I
    19 Lee D illingham in place ofthe FederalPublic D efender for a1lfuttlre proceedings.
    20         TheFederalPublicDefendershallforward the fileto M r. W hipple forthw ith.

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               DATED this J77' r)
                                'day ofFebnlary, 2012.
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    23                                                             v .
                                                                          -'               r'-
    24
    25                                                        CAM FEREN BAC H
                                                              u nited su tes M agistrate Judge
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